   Case: 1:17-md-02804-DAP Doc #: 668 Filed: 06/26/18 1 of 3. PageID #: 16023




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                  )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )      JUDGE POLSTER
                                              )
                                              )      THIRD ORDER
                                              )      REGARDING ARCOS DATA


       This Court has entered several Orders directing the United States Drug Enforcement Agency

(“DEA”) to produce to the parties certain data contained in the DEA’s Automated Records and

Consolidated Orders System/Diversion Analysis and Detection System (“ARCOS/DADS”)

database. The DEA has complied, and the data produced to date has been very helpful and

informative. It has become clear, however, that there are a few gaps in the data necessary for the

Court and the parties to obtain a complete picture of the manufacture and distribution of all opioid

products at issue in this litigation. Specifically, the ARCOS data so far released does not include

information regarding the relevant chemicals listed in the following chart:
   Case: 1:17-md-02804-DAP Doc #: 668 Filed: 06/26/18 2 of 3. PageID #: 16024




                            NCIS Code                      Drug
                          9050                  Codeine
                          9064                  Buprenorphine
                          9120                  Dihydrocodeine
                          9230                  Meperidine (Pethidine)
                          9220L                 Levorphanol
                          9250B                 Methadone
                          9300                  Morphine
                          9639                  Opium - Powdered
                          9652                  Oxymorphone
                          9780                  Tapendatol

         Accordingly, the Court now ORDERS that DEA shall produce to the parties complete

transactional ARCOS data for the chemicals listed in the chart above, for the entire United States,

for the period of January 1, 2006 through December 31, 2014. Production of the ARCOS data shall

take place as soon as reasonably possible using the protocols previously agreed to by DEA and

plaintiffs. The DEA and the parties shall confer before data production begins to arrange for

production of data on a rolling basis, and also to discuss the data fields and data keys, in order to

ensure an efficient transfer of information.1

         This directive for release of additional ARCOS data will be the last one made by the MDL

Court.

         As ordered earlier, disclosure of ARCOS data may be made to the governmental Plaintiffs,

which includes cities, counties, and Native American tribes, for this litigation and/or law


         1
           The Court understands that DEA may produce the data in “batches,” first for four of the
ten listed drugs and then for the other six listed drugs.

                                                   2
   Case: 1:17-md-02804-DAP Doc #: 668 Filed: 06/26/18 3 of 3. PageID #: 16025



enforcement purposes, and disclosure may be made to State Attorneys General for litigation and law

enforcement purposes. No person shall disclose the data or allow use of the data except as necessary

for a submission to the Court or at trial. The ARCOS data produced pursuant to this Order shall be

governed by the Protective Order previously entered at docket no. 167, including any subsequent

amendments thereto.

       IT IS SO ORDERED.

                                                     /s/ Dan Aaron Polster
                                                     DAN AARON POLSTER
                                                     UNITED STATES DISTRICT JUDGE

Dated: June 26, 2018




                                                 3
